                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In re:
                                                             Case No. 14-59127
SALVATORE DINOTO,
                                                             Chapter 7
                        Debtor.
                                          /                  Judge Thomas J. Tucker

SALVATORE DINOTO,

                        Plaintiff,

vs.                                                          Adv. Pro. No. 17-4743

FRANK FARNESE,

                        Defendant.
                                         /

               ORDER REMANDING REMOVED CASE TO STATE COURT

         This adversary proceeding is before the Court on the Court’s own motion.

         On October 26, 2017, Defendant/Counter-Plaintiff Frank Farnese (“Defendant Farnese”)

commenced this adversary proceeding by removing to this Court the state court case of Salvatore

DiNoto v. Frank Farnese, Case No. 14-0387-CZ, which was pending in the Circuit Court for the

County of Macomb, Michigan (the “State Court Case”). The removal was predicated on 28

U.S.C. § 1452(a).

         Plaintiff Salvatore DiNoto is the Debtor in a pending Chapter 7 bankruptcy case in this

Court, Case No. 14-59127. That bankruptcy case has been pending since December 14, 2014,

when Plaintiff DiNoto filed his voluntary Chapter 7 bankruptcy petition. On August 17, 2015,

the Court entered an order of discharge in Plaintiff’s bankruptcy case (Docket # 26 in Case No.

14-59127).




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        In the State Court Case, Defendant Farnese filed counterclaims against the Plaintiff

Salvatore DiNoto, which included four numbered Counts, seeking damages, among other relief.

Both the State Court Case and Defendant Farnese’s counterclaims were filed before Plaintiff

filed his bankruptcy case, and raise claims and counterclaims that arose before the bankruptcy

case was filed. The claims made by Plaintiff in the State Court Case are property of the

bankruptcy estate in Plaintiff’s pending bankruptcy estate. All the claims and counterclaims

remained pending in the State Court Case at the time Defendant Farnese filed his notice of

removal in this Court.1

        The Court finds that Defendant Farnese’s action in filing the notice of removal to this

Court was a violation of the automatic stay under 11 U.S.C. §§ 362(a)(1), 362(a)(3), 362(a)(6),

and a violation of the discharge injunction under 11 U.S.C. § 524(a)(2). See, e.g., In re Hoskins,

266 B.R. 872, 876-77 (Bankr. W.D. Mo. 2001) (finding the filing of a notice of removal to be a

violation of the automatic stay, and holding that “actions stayed by a bankruptcy filing include

removing a pending state court lawsuit to the bankruptcy court if the claim or cause of action is

subject to the automatic stay.”). As such, the notice of removal is void and of no effect. See

Easley v. Pettibone Michigan Corp., 990 F.2d 905, 911 (6th Cir. 1993) (“actions taken in

violation of” the automatic stay are “invalid and voidable, and shall be voided absent limited

equitable circumstances.”); Stratton v. Mariner Health Care, Inc. (In re Mariner Post-Acute

Network, Inc.), 303 B.R. 42, 47 (Bankr. D. Del. 2003) (“Actions which violate the discharge

injunction, similar to actions which violate the automatic stay, are void ab initio.”).



        1
           The pleadings filed in the State Court Case are attached as exhibits to Defendant Farnese’s
notice of removal (Docket # 1).

                                                    2



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        For these reasons, the Court must remand this case back to the state court.

        Accordingly,

        IT IS ORDERED that this removed case is remanded to the Circuit Court for the County

of Macomb, Michigan, from which it was removed.

        The Clerk of this Court will mail a certified copy of this order of remand to the clerk of

the state court.


Signed on November 3, 2017




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